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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

MARK THURMAN                                                                            PLAINTIFF
ADC #151278

v.                                Case No. 4:23-cv-01085-KGB

ERIC HIGGINS, et al.                                                                DEFENDANTS
                                           JUDGMENT

       Pursuant to the Order filed on this date, it is considered, ordered, and adjudged that plaintiff

Mark Thurman’s complaint is dismissed (Dkt. No. 1). The relief sought is denied. The Court

certifies pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis appeal taken from the Order

and Judgment dismissing this action is considered frivolous and not in good faith.

       It is so adjudged this 19th day of February, 2025.


                                                               Kristine G. Baker
                                                               Chief United States District Judge
